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                                                                     FILED IN THE
                                                                 U.S. DISTRICT COURT
                                                           EASTERN DISTRICT OF WASHINGTON
 1 Vanessa R. Waldref
   United States Attorney                                   Mar 06, 2024
 2 Eastern District of Washington
                                                                 SEAN F. MCAVOY, CLERK

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 7
 8                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WASHINGTON
 9
10
11 UNITED STATES OF AMERICA,                         Case No.: 2:24-CR-40-TOR
12                              Plaintiff,           INFORMATION
13
                     v.                              Vio: 18 U.S.C. § 656
14                                                        Theft and Embezzlement by
15 JESSICA ANN MARSHALL,                                  Bank Employee
16                             Defendant.                  18 U.S.C. § 982
17                                                         Forfeiture Allegations
18
19
20        The United States Attorney charges:
21                                 General Allegations
22        1.     Between June 5, 2023 and September 19, 2023, Defendant JESSICA
23 ANN MARSHALL was employed by the Bank of Idaho as the Branch Manager of
24 Bank of Idaho’s downtown Spokane, Washington branch located at 818 W Riverside
25 Avenue, Suite 120, Spokane, Washington 99201, in the Eastern District of
26 Washington.
27        2.     Bank of Idaho is an Idaho state charter bank whose deposits are insured
28 by the Federal Deposit Insurance Commission (FDIC).

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 1         3.     As Branch Manager, between June 5, 2023 and September 19, 2023,
 2 Defendant had access to keys to the bank vault and the ATM for the branch, as well
 3 as access to the branch’s electronic systems and accounts.
 4               Defendants Theft and Embezzlement of Bank of Idaho Funds
 5         4.     Between June 5, 2023 and September 19, 2023, Defendant JESSICA
 6 ANN MARSHALL used her position as Branch Manager to embezzle and willfully
 7 misapply funds belonging to and entrusted to the care and custody of Bank of Idaho.
 8         5.     Defendant took cash from the bank vault and ATM, as well as smaller
 9 amounts from her cash drawer. Defendant then falsified documentation, including
10 count sheets to reconcile the cash, in order to hide her theft and embezzlement, and
11 directed bank employees to sign the falsified count sheets.
12         6.     Defendant also used her position as Branch Manager to make
13 fraudulent deposit transactions into her spouse’s account. These fraudulent
14 transactions reflected that money was being deposited into the account; however, in
15 reality no funds were deposited.
16         7.     When Bank of Idaho inquired into these transactions, Defendant
17 accessed the computer of a co-worker and sent an email with false information that
18 appeared to be from a co-worker, in an attempt to conceal her conduct. Defendant
19 also accessed the computer of another co-worker to delete an email from Bank of
20 Idaho inquiring about these transactions, in a further attempt to conceal her conduct.
21         8.     Between June 2023 and September 2023, Defendant stole and
22 embezzled at least $345,664.66 in the manner described above.
23                                        COUNT
24         9.     The allegations set forth above in paragraphs 1 through 8 are realleged
25 and incorporated as if fully set forth herein.
26         10.    Between June 5, 2023 and September 19, 2023, in the Eastern District
27 of Washington, Defendant being an employee of Bank of Idaho, a financial
28 institution whose deposits are insured by the FDIC, with intent to injure and defraud

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 1 Bank of Idaho, willfully misapplied, embezzled, abstracted, and purloined the sum
 2 of approximately $345,664.66 belonging to Bank of Idaho, and which was entrusted
 3 to the custody and care of Bank of Idaho.
 4 All in violation of 18 U.S.C. § 656.
 5                      NOTICE OF FORFEITURE ALLEGATIONS
 6         The allegations set forth in this Information are hereby realleged and
 7 incorporated herein by this reference for the purpose of alleging forfeitures.
 8         Pursuant to 18 U.S.C. § 982(a)(2)(A) and 28 U.S.C. § 2461(c), upon
 9 conviction of an offense in violation of 18 U.S.C. § 656, as set forth in the
10 Information, the Defendant, JESSICA ANN MARSHALL, shall forfeit to the United
11 States any property constituting, or derived from proceeds she obtained directly or
12 indirectly, as the result of such violation. The property to be forfeited includes, but
13 is not limited to, the following:
14
           MONEY JUDGMENT
15
           A sum of money in United States currency, representing the amount of
16
           proceeds obtained by the Defendant as a result of the embezzlement
17
           violation.
18
19         If any of the property described above, as a result of any act or omission of
20 the Defendant:
21         a.    cannot be located upon the exercise of due diligence;
22         b.    has been transferred or sold to, or deposited with, a third party;
23         c.    has been placed beyond the jurisdiction of the court;
24         d.    has been substantially diminished in value; or
25         e.    has been commingled with other property which cannot be divided
26               without difficulty,
27 //
28 //

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1 the United States of America shall be entitled to forfeiture of substitute property
2 pursuant to 21 U.S.C. § 853(p) and 18 U.S.C. § 982(b).
3        Dated this 6th day of March, 2024.
4
                                          Vanessa R. Waldref
5                                         United States Attorney
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7                                         ____________________
8                                         Dan Fruchter
                                          Assistant United States Attorney
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